         Case 2:18-cv-00874-RSL Document 59 Filed 08/08/19 Page 1 of 1

                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                     AUG 08 2019
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 DOMAIN NAME COMMISSION                         No. 18-35850
 LIMITED,
                                                D.C. No. 2:18-cv-00874-RSL
               Plaintiff - Appellee,
                                                U.S. District Court for Western
   v.                                           Washington, Seattle

 DOMAINTOOLS, LLC,                              MANDATE

               Defendant - Appellant.


        The judgment of this Court, entered July 17, 2019, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Rebecca Lopez
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
